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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA,

  v.                                                       Case No. 1:21-CR-292-1-RCL

  CHRISTOPHER WORRELL,

         Defendant.


                                              ORDER

        Upon consideration of the defendant's [161] Motion to Continue Trial, the government's

[165] Response, the defendant's [175] Supplement, the government's [176] Response and [177]

Exhibits, and the defendant's [183] Reply, it is hereby ORDERED that the trial date in this case

is VACATED.

        The defendant is ORDERED to provide a status report every thirty days updating the Court

and the government regarding his medical status. The defendant is ORDERED to provide in each

status report (1) a list of every medical appointment since the defendant's last status report; (2) a

summary of the result of each medical appointment including diagnoses made, treatments ordered,

and follow-up appointments scheduled; (3) any medical records produced by each appointment

listed under prong one (such records may be filed under seal); (4) a list and summary of any

additional medical events since the last status report, such as loss of consciousness, that the

defendant believes relevant to his ability to go to trial. The first status report will be due on

December 1, 2022 and should be written as if a status report had been filed on October 31, 2022.

       The Court notes that the government's briefing on this matter has been very persuasive and

the Court reluctantly vacates the trial date set in this case. When the Court sets a new trial date,




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Mr. Worrell will have to provide adequate evidence of a medical inability to proceed to trial in

order to continue this trial again.

        IT IS SO ORDERED.



Date: November /~ , 2022                                  ~c~
                                                          Royce C. Lamberth
                                                          United States District Judge




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